

People v Martinez (2025 NY Slip Op 02659)





People v Martinez


2025 NY Slip Op 02659


Decided on May 01, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 01, 2025

Before: Renwick, P.J., Manzanet-Daniels, Higgitt, Rosado, Michael, JJ. 


Ind No. 72942/22|Appeal No. 4231|Case No. 2022-05804|

[*1]The People of the State of New York, Respondent,
vJasson Valencia Martinez, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Phoenix Rice-Johnson of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Maria I. Wager of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Guy H. Mitchell, J.), rendered December 21, 2022, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the fourth degree, and sentencing him to a three-year term of probation, unanimously affirmed.
Defendant lacks standing to raise his Second Amendment claims because he did not apply for a gun license (see People v Johnson, 225 AD3d 453, 455 [1st Dept 2024], lv granted 42 NY3d 939 [2024]). On the merits, he fails to establish that his conviction is unconstitutional under New York State Rifle &amp; Pistol Assn., Inc. v Bruen (597 US 1 [2022]) (see People v Sanchez, 226 AD3d 441 [1st Dept 2024], lv denied, 42 NY3d 929 [2024]; People v Johnson, 225 AD3d at 455).
To the extent that defendant challenges other requirements listed in Penal Law § 400.00(1), such as the "good moral character" provision in section 400.00(1)(b), his arguments are unpreserved because he failed to raise them in his motion to dismiss the indictment (see People v Cabrera, 41 NY3d 35 [2023]), and we decline to review them in the interest of justice. As an alternative holding, we find them unavailing.
We perceive no basis for reducing defendant's sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 1, 2025








